                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

RYAN M. WILLIAMS, and SAMUEL                    )
R. MURPHY, Individually and on behalf           )
of all others similarly situated,               )
                                                )
        Plaintiffs,                             )     Case No. 17-CV-00434-W-DW
                                                )
v.                                              )
                                                )
WIX.COM, INC.,                                  )
                                                )
        Defendant.                              )

                                        ORDER

        Pursuant to Plaintiffs’ Notice of Dismissal (Doc. 50), it is hereby ORDERED that

Plaintiffs’ individual claims are DISMISSED WITH PREJUDICE, and Plaintiffs’ uncertified

putative class claims are DISMISSED WITHOUT PREJUDICE. The Clerk of Court shall close

this case.

        IT IS SO ORDERED.




Date: November 29, 2017                               ______/s/ Dean Whipple _______
                                                                Dean Whipple
                                                           United States District Judge




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